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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :     19-CR-374 (JMF)
                                                                       :
MICHAEL AVENATTI,                                                      :   SCHEDULING ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       This Order memorializes and expands upon matters discussed at the pretrial conference
held on the record yesterday.

1. Trial Date and Venue

       Trial in this case is scheduled to begin on April 21, 2020, at 9:30 a.m. The trial,
including jury selection (except as noted below), will be held in Courtroom 110 of the
Thurgood Marshall Courthouse, 40 Centre Street, New York, New York 10007.

2. Final Pretrial Conferences

       Unless and until the Court orders otherwise, the parties shall appear for a final pretrial
conference on April 7, 2020, at 10:00 a.m. in Courtroom 1105 of the Thurgood Marshall
Courthouse, 40 Centre Street, New York, New York 10007; and an additional final pretrial
conference on April 20, 2020, at 10:00 a.m. in Courtroom 110 of the Thurgood Marshall
Courthouse, 40 Centre Street, New York, New York 10007. The final pretrial conferences
must be attended by the attorney who will serve as principal trial counsel.

3. Juror Questionnaire

        The Court will use a questionnaire in connection with jury selection. The parties shall
confer in an effort to reach agreement on a proposed questionnaire, with questions regarding
(1) prospective jurors’ backgrounds; (2) hardship; and (3) knowledge and opinions of the case
and the people involved in the case. (The parties may wish to look for guidance at the
questionnaire in the General Motors LLC Ignition Switch Multidistrict Litigation, Docket No.
14-MD-2543, at ECF No. 4116.) No later than March 13, 2020, the parties shall submit an
agreed-upon proposed questionnaire (on ECF and, simultaneously, by e-mail to
Furman_NYSDChambers@nysd.uscourts.gov in Microsoft Word format) or, in the event of any
disagreements, competing proposed questionnaires and a redline showing the differences
between the two proposals. By the same date, the parties shall each submit a letter-brief
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addressing whether, when (e.g., immediately, after a jury is impaneled, or at the conclusion of
trial), and to what extent the juror questionnaires should be made available to the public and the
press. The letter-briefs should also address the procedures to be used in connection with oral
voir dire, including but not limited to Defendant’s presence at, and press access to, any inquiry
of jurors outside the presence of the jury pool generally.

4. Jury Selection

       Unless and until the Court orders otherwise, the Court will follow these procedures in
connection with selecting the jury:

       •   A pool of approximately 150 prospective jurors will complete the questionnaire on
           the morning of Wednesday, April 15, 2020, under the supervision of the Jury
           Department.

       •   The Government will be responsible for (a) making copies of the final version of the
           questionnaire adopted by the Court for the Jury Department and (b) making copies of
           the completed questionnaires immediately available in electronic format to the
           defense and the Court. The Government shall make arrangements directly with the
           Jury Department to obtain the completed questionnaires.

       •   No later than Friday, April 17, 2020, at 10:00 a.m., the Government shall file a letter
           with a list of jurors (identified by juror number, not name) that both sides agree
           should be excused for cause. Prospective jurors on the parties’ joint list will be
           excused without any review or inquiry by the Court.

       •   No later than the same date and time (Friday, April 17, 2020, at 10:00 a.m.) the
           parties shall also file lists of the jurors (identified by juror number, not name) that
           only one side believes should be excused for cause, along with a short explanation of
           why the party believes each juror should be excused. The Court will review the
           parties’ lists and decide whether to excuse any jurors on that basis.

       •   The Court will then conduct oral voir dire of the remaining prospective jurors — in a
           randomized order (i.e., not according to juror numbers) — beginning at 9:30 a.m. on
           Tuesday, April 21, 2020.

5. Other Pretrial Submissions

       Any proposed voir dire, proposed jury instructions, and proposed verdict forms, as well
as any motions in limine or trial memoranda, shall be filed by noon on March 25, 2020. Any
opposition to a motion in limine or trial memorandum shall be filed by noon on April 1, 2020.

       In accordance with the Court’s Individual Rules and Practices for Criminal Cases,
available at https://nysd.uscourts.gov/hon-jesse-m-furman, a filing party must submit one
courtesy hard copy of each these documents to the Court at the time of filing. In addition, the
proposed voir dire, proposed jury instructions, and proposed verdict forms must be e-mailed, in
Microsoft Word format, to Furman_NYSDChambers@nysd.uscourts.gov.
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       The parties shall also confer and, no later than March 10, 2020, file an agreed-upon
proposed schedule addressing any remaining disclosures or discovery issues. If the parties
cannot agree on a schedule, the parties shall submit a joint letter by the same date describing the
disputed issues and the parties’ proposals.

6. Familiarity with the Court’s Individual Rules and Practices

        The parties must familiarize themselves with the Court’s Individual Rules and Practices
for Criminal Cases and Individual Rules and Practices for Trials, both of which are available at
https://nysd.uscourts.gov/hon-jesse-m-furman. Among other things, it is the parties’ obligation
to ensure that whatever technological needs they have — for the use of computers or other
devices, presentation of evidence, or otherwise — are addressed in advance of trial. The parties
shall contact Chambers and/or the District Executive’s Office sufficiently in advance of the trial
date to raise any questions, address any technological needs, and arrange for testing of any
technology.

7. Defense Counsel

        Finally, as noted on the record at the pretrial conference held on February 25, 2020, H.
Dean Steward’s motion to withdraw at ECF No. 39 is GRANTED. Defense counsel Mariel Miro
shall promptly refile the Notice of Appearance currently noted as deficient at ECF No. 37.

       The Clerk of Court is directed to terminate ECF No. 39 and to terminate H. Dean Steward
as defense counsel.

       SO ORDERED.

Dated: February 26, 2020                           __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge
